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                              NO. 22-1340, -1341


               IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FEDERAL CIRCUIT


                           COREPHOTONICS, LTD.,
                                Appellant

                                          v.

                                   APPLE INC.,
                                     Appellee



                        BRIEF OF APPELLEE APPLE INC.


 Appeals from the United States Patent and Trademark Office, Patent Trial
      and Appeal Board in Nos. IPR2020-00487 and IPR2020-00860


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               Patent No. 9,661,233 (IPR2020-00487) (Appx161)

1. A multiple aperture zoom digital camera, comprising:
   a) a Wide imaging section that includes a Wide sensor and a fixed focal length
       Wide lens with a Wide field of view (POV), the Wide imaging section
       operative to output a Wide image;
   b) a Tele imaging section that includes a Tele sensor and a fixed focal length
       Tele lens with a Tele POV that is narrower than the Wide POV, the Tele
       imaging section operative to output a Tele image; and
   c) a camera controller operatively coupled to the Wide and Tele imaging
       sections and configured to reduce an image jump effect seen in video output
       images and to provide continuous zoom video output images by executing
       registration between the Wide and Tele images for performing position
       matching to the video output images when switching from an output of the
       Tele imaging section to an output of the Wide imaging section or vice versa.

              Patent No. 10,326,942 (IPR2020-00860) (Appx181)

1. A multiple aperture zoom digital camera, comprising:
   a) a Wide imaging section that includes a Wide sensor and a fixed focal length
       Wide lens with a Wide field of view (FOV), the Wide imaging section
       operative to output a Wide image;
   b) a Tele imaging section that includes a Tele sensor and a fixed focal length
       Tele lens with a Tele FOV that is narrower than the Wide FOV, the Tele
       imaging section operative to output a Tele image; and
   c) a camera controller operatively coupled to the Wide and Tele imaging
       sections and configured, when providing video output images, to:
       reduce an image jump effect seen in the video output images when switching
          from a Wide image to a Tele image by shifting the Tele image relative to
          the Wide image according to a distance of an object in a Tele image
          region of interest (ROI), and/or
       reduce an image jump effect seen in the video output images when switching
          from a Tele image to a Wide image by shifting the Wide image relative to
          the Tele image according to a distance of an object in a Wide image ROI.




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                           CERTIFICATE OF INTEREST
          Case Number 22-1340, -1341
  Short Case Caption Corephotonics, Ltd. v. Apple Inc.
  Filing Party/Entity Apple Inc. / Appellee

Instructions: Complete each section of the form. In answering items 2 and 3, be specific as to
which represented entities the answers apply; lack of specificity may result in non-
compliance. Please enter only one item per box; attach additional pages as needed and
check the relevant box. Counsel must immediately file an amended Certificate of Interest if
information changes. Fed. Cir. R. 47.4(b).




  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


  Date: October 3, 2022                    Signature: /s/ Debra J. McComas
                                           Name: Debra J. McComas


   1. Represented                     2. Real Party in            3. Parent Corporations
       Entities.                          Interest.                   and Stockholders.
    Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of       Provide the full names of        Provide the full names of
 all entities represented        all real parties in interest     all parent corporations
 by undersigned counsel in       for the entities. Do not         for the entities and all
 this case.                      list the real parties if         publicly held companies
                                 they are the same as the         that own 10% or more
                                 entities.                        stock in the entities.

 __ None/Not Applicable           X None/Not Applicable            X None/Not Applicable

 Apple Inc.




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4. Legal Representatives. List all law firms, partners, and associates that (a)
appeared for the entities in the originating court or agency or (b) are expected to
appear in this court for the entities. Do not include those who have already
entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
__ None/Not Applicable                           __ Additional pages attached
    Michael S. Parsons             Stephanie N. Sivinski            Jordan Maucotel
 (Haynes and Boone, LLP)          (Haynes and Boone, LLP)       (Haynes and Boone, LLP)




5. Related Cases. Provide the case titles and numbers of any case known to be
pending in this court or any other court or agency that will directly affect or be
directly affected by this court’s decision in the pending appeal. Do not include the
originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
R. 47.5(b).
__ None/Not Applicable                           __ Additional pages attached
Corephotonics, Ltd. v. Apple
Inc., 5:19-cv-04809 (N.D.
Cal.)




6. Organizational Victims and Bankruptcy Cases. Provide any information
required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
X None/Not Applicable                            __ Additional pages attached




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                     STATEMENT OF RELATED CASES
      No appeal in or from the same proceeding was previously before this Court

of any other appellate court.

      Counsel is aware that the following case may directly affect or be directly

affected by this Court’s decision in the pending appeal:

      Corephotonics, Ltd. v. Apple Inc., No. 3:19-cv-04809-JD (N.D. Cal.).




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               JURISDICTIONAL STATEMENT
Apple does not dispute Corephotonics’ Jurisdictional Statement.




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                          STATEMENT OF THE ISSUES
1. Corephotonics challenges whether Apple made a “prima facie” showing of

   analogous art to justify institution. Is Corephotonics’ challenge to a threshold

   institution decision unreviewable under 35 U.S.C. § 314(d)?

2. Is analogous art determined as part of the same, flexible approach as the rest of

   the obviousness inquiry under KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398

   (2007)?

3. Corephotonics accuses Apple of changing its analogous art positions in reply.

      a. Is Corephotonics foreclosed from challenging the scope of the reply brief

         by failing to exhaust its remedies before the Board?

      b. Alternatively, did the Board act within its discretion in finding that

         Apple’s reply arguments and evidence were an appropriate response to

         arguments raised in the Patent Owner’s Response?

      c. Did Corephotonics have adequate notice and opportunity to respond to

         the basis of the Board’s determination that Golan and Martin are

         analogous art?

4. Does substantial evidence support the Board’s determination that Golan and

   Martin are analogous art?




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5. Does substantial evidence support the Board’s finding that the combination of

   Golan and Martin renders obvious the “shifting according to a distance”

   limitation in the ’942 patent claims?

                                INTRODUCTION
      This appeal arises from Final Written Decisions in two inter partes review

proceedings finding all challenged claims unpatentable as obvious. Corephotonics’

appeal hardly touches the findings supporting the Board’s conclusion of

obviousness. The claimed inventions disclose dual-aperture digital cameras using

two imaging sections and addressing the common problem of “jump” or

discontinuous image change when the camera switches the output between sub-

cameras. Corephotonics does not dispute that a person of ordinary skill in the art

(“POSITA”) would have been motivated to reduce the effects of parallax (the

disparate perspectives resulting from images with overlapping visual fields but

different points of view) in Golan, or that Martin provides a description of a

methodology for doing that. Nor does Corephotonics dispute that it would have

been within the skill of a POSITA to implement Martin’s methodology in Golan or

that the combination would have yielded predictable results.

      Instead, Corephotonics’ appeal rests on the narrow premise that, despite

Golan’s and Martin’s indisputable combined read on the claimed inventions, Apple

was required (but allegedly failed) to make a “prerequisite” showing that Martin



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and Golan are analogous art. On this narrow analogous art issue, not only is the

substantial evidence indisputable that Golan and Martin are in the same field and

address the same problem—aligning two images from two cameras when

switching between them—but the claimed inventions of the Challenged Patents

also fall within that same field and address that same problem. Even if Golan and

Martin may teach switching for different contexts (Golan for continuous zoom and

Martin for providing a 3D effect), they both lead a POSITA to the same teachings

of the claimed inventions. Both references disclose dual cameras and aligning

images when switching. Golan aligns by performing factory calibration and Martin

aligns based on the images. And while Martin is not limited to two cameras, it

addresses two cameras. Thus, substantial evidence supports the Board’s finding

that Golan and Martin are analogous art that render the challenged claims obvious.

      In any event, Corephotonics’ appeal on the ground of a prerequisite

obligation to prove analogous prior art should be rejected out-of-hand; the decision

to institute is not reviewable. See Thryv, Inc. v. Click-to-Call Techs., LP, 140 S. Ct.

1367, 1370-71 (2020). That leaves only two cognizable issues: (1) whether

Corephotonics had adequate notice of the grounds supporting Apple’s petition for

inter partes review (which it did), and (2) whether substantial evidence supports

the Board’s finding of obviousness, including any underlying factual dispute

regarding analogous art (which it does).


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      Corephotonics’ attempts to dismiss the substantial evidence are meritless.

Corephotonics excerpts only a few sentences from the briefing and Decisions to

the exclusion of others and demands a showing that far exceeds the flexible

approach of KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398 (2007). To accept

Corephotonics’ arguments would be to accept that no art could ever be analogous

unless it individually reads precisely on the patented invention. Corephotonics’

approach would merge obviousness into anticipation, which is not what the law

following KSR permits.

      The burden on petitioner to show analogous art is no higher than the burden

to show any other aspect of the obviousness analysis. That burden was met here,

where the field of endeavor and pertinence of the prior art to the problem(s) faced

by the inventor are repeated throughout the IPR proceeding, and the substantial

evidence supports that both Martin and Golan fit into the field of endeavor and are

pertinent to problem(s) faced by the inventor.

      Corephotonics’     remaining    challenge    to    the   Board’s   obviousness

determination, which relates solely to the ʼ942 patent, is a failed attempt to reweigh

the substantial evidence cloaked in an incorrect accusation that the Board imposed

an additional requirement by limiting “shifting according to a distance” to using a

“transformation coefficient.” The Board never imposed such a requirement, and




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the substantial evidence fully supports the Board’s findings that the prior art

teaches the “shifting” limitation.

      On this record, Corephotonics’ technical and procedural arguments cannot

overshadow the substantial evidence showing that the combination of Golan and

Martin render the claimed invention obvious. The Final Written Decisions,

therefore, should be affirmed.

                           STATEMENT OF THE CASE
      This appeal centers on two patents in the field of imaging systems, and

specifically digital cameras using two imaging sections and addressing the

common problem of “jump” or discontinuous image change when the camera

switches the output between sub-cameras. Appx4 (’233 Decision), Appx64

(’942 Decision), Appx5410 (Durand Decl., “Durand”), ¶ 55. The techniques at

issue allow a dual camera to provide “continuous zoom video mode output images

. . . with a smooth transition when switching” between the two cameras. Appx145

(’233 patent), Abstract, Appx163 (’942 patent), Abstract. The Board found all

challenged claims of the patents unpatentable as obvious.

      The bulk of this appeal, however, does not center on the substance of the

Board’s obviousness findings. Corephotonics does not dispute that Apple’s

obviousness grounds disclose all limitations in U.S. Patent No. 9,661,233 (“’233

patent”) and all but one limitation in U.S. Patent No. 10,326,942 (“’942 patent”).



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Instead, Corephotonics centers its appeal on procedural technicalities surrounding

the Board’s determination that Golan and Martin are analogous art. See CP Br. 34–

50. The following Statement of the Case is limited to facts relevant to these narrow

issues.

      A.     The Technology

             1.    The ’233 Patent and ’942 Patent

      The ʼ233 and ʼ942 patents both concern a dual-aperture digital camera and a

switch between the image output of two sub-cameras during zoom video. Appx145

(’233 patent),1 Abstract, Appx5395–5400 (Durand), ¶¶ 25–31. The patents’

summaries define the embodiments as teaching “the use of dual-aperture . . .

optical zoom digital cameras.” Appx156, 3:28–33.

      Figure 1A, below, illustrates the claimed dual-aperture digital camera:




1
  The written descriptions of the two patents do not materially differ as they relate
to the issues on appeal. See CP Br. 6. Accordingly, this overview section cites only
the ʼ233 patent’s specification.

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                                                            Tele lens 108


                     Wide sensor 104                      Tele sensor 110



                      Wide ISP 106                          Tele ISP 112


              L----------------------------J
               Camera Controller 114

                                                     User con trol 11 8
                    Sensor control l l 6



                        Video processing              Still processing
                               126                           128




Appx147, Fig. 1A.

      Although the specification (which mirrors that of earlier patents in the

family) discusses these dual-aperture cameras operating in still mode by fusing

images from the two sub-cameras, the claims of the ʼ233 and ʼ942 patents do not

address still mode. See Appx156, 3:42–45. Instead, the claims relate solely to

video mode, where zoom is achieved using “switching between the [wide] and

[tele] images.” Appx156, 3:49–54.

      As the patents recognize, a common problem arises in switching between the

camera outputs in dual-aperture camera operations. The patents explain that

“[w]hen a dual-aperture camera switches the camera output between sub-cameras


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or points of view, a user will normally see a ‘jump’ (discontinuous) image

change.” Appx159, 10:32–34. The patents purport to address this issue by

employing a “smooth” transition between cameras or points of view (POV).

Appx159, 10:36–38. This may include “matching the position, scale, brightness

and color of the output image before and after the transition.” Appx159, 10:38–40.

The patents recognize, however, that “an entire image position matching between

the sub-camera outputs is in many cases impossible, because parallax causes the

position to shift to be dependent on the object distance,” and an image may include

objects at a variety of distances. Accordingly, the patents settle for position

matching “only in the [region of interest] while scale brightness and color are

matched for the entire output image area.” Appx159, 10:40–46.

      Representative claim 1 of the ’233 patent is reproduced below:

      1.    A multiple aperture zoom digital camera, comprising:

      a) a Wide imaging section that includes a Wide sensor and a fixed focal
        length Wide lens with a Wide field of view (POV), the Wide imaging
        section operative to output a Wide image;

      b) a Tele imaging section that includes a Tele sensor and a fixed focal length
       Tele lens with a Tele POV that is narrower than the Wide POV, the Tele
       imaging section operative to output a Tele image; and

      c) a camera controller operatively coupled to the Wide and Tele imaging
        sections and configured to reduce an image jump effect seen in video
        output images and to provide continuous zoom video output images by
        executing registration between the Wide and Tele images for performing
        position matching to the video output images when switching from an



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       output of the Tele imaging section to an output of the Wide imaging
       section or vice versa.

Appx161, 13:17–35.

      Representative claim 1 of the ’942 patent claims:

      1.      A multiple aperture zoom digital camera, comprising:
      a) a Wide imaging section that includes a Wide sensor and a fixed
        focal length Wide lens with a Wide field of view (FOV), the Wide
        imaging section operative to output a Wide image;

      b) a Tele imaging section that includes a Tele sensor and a fixed focal
       length Tele lens with a Tele FOV that is narrower than the Wide
       FOV, the Tele imaging section operative to output a Tele image; and
      c) a camera controller operatively coupled to the Wide and Tele
        imaging sections and configured, when providing video output
        images, to:

           reduce an image jump effect seen in the video output images when
           switching from a Wide image to a Tele image by shifting the Tele
           image relative to the Wide image according to a distance of an
           object in a Tele image region of interest (ROI), and/or
           reduce an image jump effect seen in the video output images when
           switching from a Tele image to a Wide image by shifting the Wide
           image relative to the Tele image according to a distance of an
           object in a Wide image ROI.
Appx181, 13:22–44.

      Like the claimed inventions, both Golan and Martin concern video output in

imaging devices with solutions to assure continuous output while switching

between images with different points of view.




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             2.    Golan
      Golan concerns video output in a dual-aperture imaging device with

“continuous electronic zoom.” Appx10 (citing Appx5517, Abstract), Appx1019

(Petition) (citing Appx5518, Fig. 1, Appx5404–5406 (Durand), ¶¶ 44–48); see

generally Appx5517–5529. By providing “multiple imaging devices each with a

different fixed field of view,” Golan’s systems “facilitate[] a lightweight electronic

zoom with a large lossless zooming range.” Appx10 (citing Appx5525, ¶ 9).

Golan’s Figure 1, below, illustrates a zoom control sub-system for an image

acquisition system. Appx11 (citing Appx5526, ¶ 26).



                                                                  100

                           120


                                                        150

                                                      ~ Q Vid e o o ut )




                                                                  Z oom
                                    Zoom Control
                                   130



                                         Fig 1


Appx5518 (Fig. 1).




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      According to Golan, “[z]oom control sub-system 100 includes a tele image

sensor 110 coupled with a narrow lens 120 having a predesigned FOV 140, a wide

image sensor 112 coupled with a wide lens 122 having a predesigned FOV 142, a

zoom control module 130 and an image sensor selector 150.” Appx11 (citing

Appx5526, ¶ 37). Zoom control module 130 selects an appropriate image sensor

through image sensor selector 150 and calculates a camera zoom factor when it

receives a required zoom from an operator. Appx11 (citing Appx5526, ¶ 39).

      Golan’s system “facilitates continuous electronic zoom capabilities with

uninterrupted imaging, when switching back and forth between the first image

sensor array and the second image sensor array.” Appx5525–5526, ¶¶ 15, 38–39,

Appx5405–5406 (Durand), ¶¶ 47–48. Golan uses “electronic calibration” of the

“spatial offsets between wide image sensor array 110 and tele image sensor array

112” to address a jump (discontinuous) image change when the dual-aperture

camera switches the camera output between sub-cameras or points of view.

Appx5526, ¶ 38.

            3.    Martin
      Martin similarly concerns alignment of parallax images (e.g., images with

overlapping visual fields but different points of view) so as to achieve a stable

autostereoscopic video display when switching between the two images. Appx12–

14 (citing Appx5530, Abstract), Appx5406–5409 (Durand), ¶¶ 49–53; see



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generally Appx5530–5540. Specifically, Martin discloses generating a set of

aligned parallax images by displaying alternating views of the images at a desired

view rate and manipulating the images such that at least a portion are aligned.

Appx13 (citing Appx5536, 3:6–13), Appx5530, Abstract. Martin’s “critical

alignment teaches determining correspondences between the coordinate systems of

the two images from different points of view.” Appx5433 (Durand), ¶ 96. That

critical alignment process performs registration of two images, which is, in turn,

“used for performing position matching to the video output images when switching

between the two images.” Appx5434 (Durand), ¶ 97. The registration process

reduces an image “jump effect seen in video output images’ as claimed . . . because

it teaches reducing a discontinuous image change in video output images to

achieve a stable transition between two parallax images from different points of

view.” Appx5435 (Durand), ¶ 98.

      Martin’s teaching of executing registration using critical alignment between

two images from different points of view for performing position matching to

video output images combined with Golan’s teaching of switching in the digital

camera yields the stable transition between images from different points of view

for providing continuous zoom video output images as discussed by the challenged

patents. Appx5410–5414 (Durand), ¶¶ 54–59.




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      B.     The IPRs
      Apple filed petitions for inter partes review of claims 1–18 of the ’233

patent and claims 1–25 of the ’942 patent, supported by the testimony of Dr. Fredo

Durand. Appx1001–1084, Appx5383–5494, Appx10001–10090, Appx15429–

15576. Apple asserted in both petitions that Golan and Martin are “analogous prior

art and are in the same field of endeavor pertaining to imaging systems generating

video output images using images from two imaging sections having different

points of view” and share the same need expressed by the challenged patents: “to

provide continuous video output images when switching between images from two

imaging sections having different points of view.” Appx1023–1024 (citing

Appx5410–5412 (Durand), ¶¶ 55–56), Appx10023–10024 (citing Appx15457–

15459 (Durand), ¶¶ 53–55), Appx145 (’233 patent), Abstract, Appx163 (ʼ942

patent), Abstract.

      Corephotonics filed a preliminary response in each proceeding. Appx187,

Appx190, Appx1085, Appx10091. Apple replied, and Corephotonics filed a sur-

reply. Appx187, Appx190, Appx1112, Appx10295. The Board instituted review in

both proceedings. Appx1173, Appx10114.

      In response, Corephotonics alleged fundamental differences between Martin

and Golan. Appx1231–1240. In a secondary argument, Corephotonics further

argued that the analysis of Dr. Durand explaining why Golan and Martin qualify as



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analogous art “fails to address whether Golan and Martin, separately, are

‘analogous’ to invention of the ’233 patent.” Appx1246.

      In its replies, supported by testimony from Dr. Durand, Apple responded to

Corephotonics’    analogous-art   arguments.       Appx1273–1306       (ʼ233   Reply),

Appx6015–6057 (ʼ233 Durand Reply), Appx10252–10289 (ʼ942 Reply),

Appx16844–16897 (ʼ942 Durand Reply). First, citing to the patent, the petitions,

Golan, Martin, and the expert testimony of both parties’ experts, Apple

emphasized the indisputable fact that the challenged patents, Golan, and Martin are

“all in the field of imaging systems, and more specifically, imaging systems

including digital cameras generating video output images using two imaging

sections having different points of view.” Appx1279 (citing Appx1023–1024,

Appx6020, ¶ 4, Appx5517–5518, Appx5525–5526, Fig. 1, ¶¶ 9, 15, 36, Abstract,

Appx5531, Fig.1, Appx5536, 3:6–13, 3:32–35, 4:10–15, Appx6101, Appx6113–

6117). Apple further explained why a field of endeavor that excludes Golan and

Martin (as urged by Corephotonics) would be inappropriately narrow under

controlling legal authorities. Appx1279.

      Apple further explained why Golan and Martin are “each pertinent to the

problem addressed in the ’233 Patent [and ’942 Patent], namely, “a ‘jump’

(discontinuous) image change” “‘[w]hen a dual-aperture camera switches the




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camera output between sub-cameras or points of view.’” Appx1280 (citing

Appx1023–1025, Appx159, 10:32–34, Appx6021, ¶ 6, Appx5525, ¶ 15).

      Corephotonics filed a sur-reply, in which it fully addressed Apple’s reply

arguments and evidence while also accusing Apple of raising “completely new

arguments” and evidence regarding analogous art. Appx1318–1319. Corephotonics

never requested to strike or exclude Apple’s reply arguments and evidence. Nor

did Corephotonics attempt any other available mechanism to address any perceived

procedural missteps.

      C.    The Board’s Decisions

      In its Decisions, the Board concluded that all challenged claims of the

patents were unpatentable in light of the asserted prior art. Appx58, Appx142–143.

      In reaching that conclusion, the Board made specific findings supporting its

determination that Golan and Martin are analogous art, identifying the field of the

challenged patents as “a dual-aperture zoom digital camera” (Appx4, Appx64) and

recognizing one of the problems the patented inventions seek to solve as the

“jump, or discontinuous image change,” that typically occurs “when the camera

switches between sub-camera output images.” Appx5, Appx65. The Board then

applied the evidence regarding Golan and Martin to conclude that both qualified as

analogous art.




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                       SUMMARY OF THE ARGUMENT
      Absent from Corephotonics’ appeal is any genuine dispute over the

characteristics of Golan and Martin or the motivation to combine Golan and Martin

to teach the challenged claims. This is not surprising given the substantial evidence

supporting the Board’s conclusion of obviousness.

      Instead, the feigned violation urged by Corephotonics stems not from an

actual error in the process but rather Corephotonics’ unjustifiably narrow and

restrictive reading of first the petition, second the Board’s Final Written Decisions,

and third the law governing analogous art. Reading the briefing and orders fairly

and in the context of each document as a whole, and applying the proper standards

for analogous art, there is no abuse of discretion or legal error in this case.

      Another theme that permeates the opening brief is the suggestion that

reversal is warranted because Apple allegedly failed to meet a “prima facie,”

“prerequisite” or threshold burden to prove that Martin and Golan are analogous

art. To the extent Corephotonics questions whether Apple met its burden to support

institution, that question is not reviewable. 35 U.S.C. § 314; Cuozzo Speed Techs.,

LLC v. Lee, 579 U.S. 261, 268 (2016); Thryv, 140 S. Ct. at 1376–77. If, on the

other hand, Corephotonics seeks to impose a heightened, threshold burden to prove

analogous art separate and apart from the obviousness analysis, that argument, too,




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is inconsistent with precedent, which calls for a flexible approach to the

obviousness determination.

      Similarly, Corephotonics’ claim of surprise regarding Apple’s positions in

reply are the result of Corephotonics’ unwarrantedly narrow reading of the petition

and its supporting evidence. The claimed field of endeavor is derived from the

patents themselves, as are the problems facing the inventor, and the petition

describes the portions of Golan and Martin that Apple asserted taught the

challenged claims. Corephotonics did not lack notice of Apple’s position regarding

analogous art; it simply disagreed with how the Board applied the facts to those

positions. In challenging the merits of the Board’s analogous art findings—a

challenge governed by substantial evidence review—Corephotonics’ arguments

suggest a standard for showing analogous art that only the claimed invention itself

could meet. That is not the standard for showing analogous art.

      To be analogous, a reference need only fall within the same field of

endeavor or be pertinent to at least some problem facing the inventor. Here, the

Board’s finding that Golan—a reference that also addresses reducing a jump effect

in a dual-aperture camera—is in the same field of endeavor as the claimed

inventions is supported by substantial evidence. Similarly, substantial evidence

supports the Board’s finding that Martin is pertinent to solving the problem of

jump or discontinuity when switching between images. Martin need not disclose


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all of the same features as the claimed invention or even involve cameras (although

it does) to be pertinent. It is enough that the reference would be something a

POSITA would look to in solving the stated problem. Martin meets this standard.

      Finally, Corephotonics’ only substantive challenge to the prior art

disclosures, which relates solely to the ʼ942 patent, props up and attacks a straw

man. Corephotonics’ argument misinterprets the Board’s understanding of the

“shifting” limitation—suggesting incorrectly that the Board required the shift to be

based on a “transformation coefficient”—then attempts to discredit the Board’s

analysis for failing to explain how the prior art discloses that additional

requirement of the claim. But the Board did not add such a requirement to the

claim language, rendering Corephotonics’ arguments inapplicable. With that

improper understanding of the limitation aside, the Board’s analysis is fully

supported by the substantial evidence.

      For these reasons, the Decisions should be affirmed.

                                  ARGUMENT

I.    Standard of Review
      To the extent Corephotonics seeks to challenge the propriety of institution,

that question is unreviewable. 35 U.S.C. § 314(d); Cuozzo, 579 U.S. at 268; Thryv,

140 S. Ct. at 1376–77.




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      Generally, the Board’s legal conclusions are reviewed de novo, while its

factual findings are reviewed for substantial evidence. Arendi S.A.R.L. v. Apple

Inc., 832 F.3d 1355, 1360 (Fed. Cir. 2016).

      Decisions related to compliance with the Board’s procedures, such as what

arguments are fairly presented in a petition and the proper scope of reply, are

reviewed for an abuse of discretion. Provisur Techs., Inc. v. Weber, Inc., No. 21-

1942, — F.4th —, 2022 WL 4474941, at *3 (Fed. Cir. Sept. 27, 2022)

(precedential). An abuse of discretion occurs only if the Board’s decision: “(1) is

clearly unreasonable, arbitrary, or fanciful; (2) is based on an erroneous conclusion

of law; (3) rests on clearly erroneous findings of fact; or (4) involves a record that

contains no evidence on which the Board could rationally base its decision.”

Bilstad v. Wakalopulos, 386 F.3d 1116, 1121 (Fed. Cir. 2004).

       Corephotonics cites In re IPR Licensing, Inc., 942 F.3d 1363, 1369 (Fed.

Cir. 2019), for the proposition that “[w]hether the Board improperly relied on new

arguments is reviewed de novo.” CP Br. 33. But IPR Licensing 2 did not address

compliance with 35 U.S.C. § 312(a)(3) and 37 C.F.R. § 42.23, but instead

addressed improper reliance on evidence related to non-instituted grounds. 942

F.3d at 1369. Here, in contrast, Corephotonics questions whether certain reply

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  IPR Licensing relies on In re Nuvasive, Inc., 841 F.3d 966, 971 (Fed. Cir. 2016),
which also addressed the APA generally rather than the specific rules at issue in
these appeals.

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evidence and arguments fell within the permissible scope of 35 U.S.C. § 312(a)(3)

and 37 C.F.R. § 42.23 (requirements for petitions and replies). This Court

consistently reviews this question for an abuse of discretion. See Provisur, 2022

WL 4474941, at *3; Ericsson Inc. v. Intellectual Ventures I LLC, 901 F.3d 1374,

1379 (Fed. Cir. 2018); Intelligent Bio-Sys., Inc. v. Illumina Cambridge Ltd., 821

F.3d 1359, 1367–68 (Fed. Cir. 2016); see also Apple Inc. v. Andrea Elecs. Corp.,

949 F.3d 697, 705 (Fed. Cir. 2020); Belden Inc. v. Berk-Tek LLC, 805 F.3d 1064,

1078 (Fed. Cir. 2015); Henny Penny Corp. v. Frymaster LLC, 938 F.3d 1324, 1330

(Fed. Cir. 2019); Acceleration Bay, LLC v. Activision Blizzard Inc., 908 F.3d 765,

775 (Fed. Cir. 2018). If a conflict exists in the cases, the earlier precedents in

Belden and Intelligent Bio-Systems govern. See Newell Cos. v. Kenney Mfg. Co.,

864 F.2d 757, 765 (Fed. Cir. 1988).

      Obviousness is a question of law based on underlying fact findings, such as

the scope and content of the prior art, the presence of a motivation to combine

references, and whether a reference qualifies as analogous art. SIPCO, LLC v.

Emerson Elec. Co., 980 F.3d 865, 870 (Fed. Cir. 2020) (quoting In re Gartside,

203 F.3d 1305, 1316 (Fed. Cir. 2000)); Intelligent Bio-Sys., 821 F.3d at 1367–68;

Airbus S.A.S. v. Firepass Corp., 941 F.3d 1374, 1379 (Fed. Cir. 2019).




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II.   Substantial evidence supports the finding that Golan and Martin are
      analogous art.

      A.     Analogous art is part of the obviousness analysis rather than an
             independent inquiry.

      Corephotonics insists Apple bore the burden to prove analogous art as a

prerequisite to establishing a prima facie case of obviousness. CP Br. 2, 3, 20, 38,

40–42. In Cuozzo, the Supreme Court held that “[w]here a patent holder merely

challenges the Patent Office’s ‘determin[ation] that the information presented in

the petition . . . shows that there is a reasonable likelihood’ of success ‘with respect

to at least 1 of the claims challenged,’ § 314(a), or where a patent holder grounds

its claim in a statute closely related to that decision to institute inter partes review,

§ 314(d) bars judicial review.” 579 U.S. at 275–76; Thryv, 140 S. Ct. at 1376–77.

Following Cuozzo, this Court has recognized that a patent owner’s efforts (as in

this case) to exclude arguments and evidence in the reply “because it was

necessary to make a prima facie case of obviousness” but came too late to satisfy

that requirement, “seems to be a back-door attempt to challenge whether the Board

properly instituted review based on whether the petition contained a prima facie

case of obviousness” and is, therefore, not appealable under Cuozzo. Valmont

Indus., Inc. v. Lindsay Corp., 730 F. App’x 918, 922–23 (Fed. Cir. 2018) (non-

precedential).




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      Conversely, if Corephotonics seeks to require the petitioner to prove

analogous art under some heightened standard that exceeds that to prove

obviousness as a whole, such a standard is not supported by the controlling legal

authorities.

      To be sure, authorities reciting the standard for analogous art articulate a

two-fold inquiry: (1) whether the art is from the same field of endeavor, regardless

of the problem addressed or (2) even if not in the same field of endeavor, whether

the reference nonetheless is reasonably pertinent to the problem with which the

inventor is involved. In re Clay, 966 F.2d 656, 658–59 (Fed. Cir. 1992); In re

Bigio, 381 F.3d 1320, 1325 (Fed. Cir. 2004). And these are the authorities

Corephotonics relies upon. But neither Clay nor Bigio supports application of a

heightened burden to the petitioner in an IPR proceeding to show analogous art

conclusively at the filing stage (or independent from the obviousness analysis).

Nor could they, since IPRs did not even exist at the time of these early decisions.

      Nor did KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398 (2007), exist when Clay

and Bigio issued. While KSR did not address analogous art specifically, it rejected

a rigid approach to determining obviousness in favor of a more holistic, expansive,

and flexible approach to the inquiry that identifies the “‘scope and content of the

prior art’” as only one of multiple considerations in the obviousness analysis. Id. at

415–16. And although this Court has continued to apply the two-prong analogous


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art standard articulated in Clay, the Court has also emphasized following KSR by

“constru[ing] the scope of analogous art broadly,” with a recognition that “familiar

items may have obvious uses beyond their primary purposes” so that “a person of

ordinary skill often will be able to fit the teaching of multiple patents together like

pieces of a puzzle.” Wyers v. Master Lock Co., 616 F.3d 1231, 1238 (Fed. Cir.

2010) (quoting KSR, 550 U.S. at 402); see Donner Tech., LLC v. Pro Stage Gear,

LLC, 979 F.3d 1353, 1359 (Fed. Cir. 2020) (“[t]he scope of the prior art includes

all analogous art”).

      Thus, following KSR, there is no reason to treat analogous art differently

than any other aspect of the flexible obviousness analysis. And there is no basis to

deviate from the procedures established by the Board for the presentation of

evidence in an IPR. As this Court has explained, “the introduction of new evidence

in the course of the trial is to be expected in inter partes review trial proceedings

and, as long as the opposing party is given notice of the evidence and an

opportunity to respond to it, the introduction of such evidence is perfectly

permissible under the APA.” Genzyme Therapeutic Prods. LP v. Biomarin Pharm.

Inc., 825 F.3d 1360, 1366 (Fed. Cir. 2016). Said another way, “[t]he purpose of the

trial in an inter partes review proceeding is to give the parties an opportunity to

build a record by introducing evidence—not simply to weigh evidence of which




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the Board is already aware.” Id. at 1367. This is as true for analogous art as for any

other element of the obviousness analysis during the IPR process.

      Thus, to the extent Corephotonics argues for a heightened standard for

determining analogous art, requiring conclusive proof at the time of the petition

that can neither be explained nor further supported in response to the patent

owner’s arguments and evidence, such a standard should be rejected as contrary to

KSR and authorities following that decision.

      Instead, it is most appropriate to consider analogous art as part of the

obviousness inquiry under the procedures established under the APA for all other

arguments and evidence presented during an IPR. Applying that standard here

supports affirmance.

      B.     Substantial evidence supports the Board’s finding that Golan and
             Martin are analogous art to the patents.
      Following KSR, the Court has continued to follow two criteria for

determining whether prior art is analogous: (1) whether the art is from the same

field of endeavor, regardless of the problem addressed, or (2) whether the reference

is reasonably pertinent to a problem with which the inventor is involved. Donner,

979 F.3d at 1359.

      Notably, this articulation of the standard arose in a few early CCPA

decisions and has since been oft-repeated. See, e.g., Application of Wood¸599 F.2d

1032, 1036 (CCPA 1979); Application of Antle, 444 F.2d 1168, 1172 (CCPA


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1971). The Supreme Court’s treatment of analogous art, however, has not been

limited to this two-part test. See, e.g., Dann v. Johnston¸ 425 U.S. 219, 229 (1976).

KSR only serves to reinforce a more flexible analogous art analysis.

      The field of endeavor is a question of fact that requires “reference to

explanations of the invention’s subject matter in the patent [], including the

embodiments, function, and structure of the claimed invention” considered “from

the vantage point of the common sense likely to be exerted by one of ordinary skill

in the art assessing the scope of the endeavor.” Bigio, 381 F.3d at 1325, 1326.

“[T]he scope of any field of endeavor will vary with the factual description of each

invention.” Id. at 1326. The field of the endeavor may, for example, be determined

by the structure of the invention. Id. at 1326–27 (affirming finding that toothbrush

was in the same field of invention as small facial hair brushes due to similarities in

the structure).

      Here, the Board recognized at the outset of its Decisions that the patents

“concern[] a dual-aperture zoom digital camera.” Appx4, Appx64. The Board

further acknowledged that the patents seek to address the problem of “jump” or

“discontinuous image change, when the camera switches between sub-camera

output images.” Appx5, Appx65. Later in the Decisions, the Board also cited

Apple’s description of the field of endeavor as “imaging systems and, more

specifically, imaging systems including digital cameras [for] generating video


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output images using two imaging sections having different points of view.”

Appx32, Appx102.

      The Board then found that Golan falls in the same field of endeavor as the

claimed invention because it describes performing digital zoom using a wide image

sensor array and lens and a tele image sensor array and lens with the goal of

providing “‘continuous electronic zoom with uninterrupted imaging.’” Appx32

(citing Appx5525, ¶ 15), Appx103. Substantial evidence supports the Board’s

finding. See Appx5517–5529, Appx5404–5406 (Durand), ¶¶ 46–48, Appx5410–

5414 (Durand), ¶¶ 54–59.

      In response to the substantial evidence, Corephotonics argues “[t]here is no

indication that Golan’s one-time calibration was directed to overcoming the jump

problem while ‘zooming’ during video output.” CP Br. 47 (citing Statement of the

Case IV.A.). But, to fit within the field of endeavor, Golan need only concern

imaging systems broadly. See, e.g., Appx6019 (Durand Reply), ¶ 3. Indeed, even

during prosecution, the examiner “relied on prior art related generally to imaging

systems implementation, including Simmons.” Appx6019–6020, ¶ 3. But here, as

the Board found, Golan is within the field because it not only falls within the

broader field of imaging system but directly performs the same type of imaging

system described in the patents—zoom using a wide image sensor array and lens




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and a tele image sensor array and lens. Appx32, Appx103, Appx5404–5405

(Durand), ¶ 46 (citing Appx5525, ¶ 9), Appx6020.

      Second, that Golan’s invention shares the goal of providing “continuous

electronics zoom with uninterrupted imaging” (Appx32, Appx103) supports the

further conclusion that Golan is pertinent to a problem to be solved by the claimed

invention. Such a finding, too, is supported by substantial evidence. Indeed, even

Corephotonics acknowledges that Golan addresses the problem of the interruption

in video imaging. See CP Br. 13 (“Golan recognizes that using two cameras to

provide different zoom ranges could interrupt video imaging during zoom.”).

Corephotonics’ argument appears to criticize the way in which Golan solves the

problem, arguing that Golan’s solution omits the registration or position matching

taught by the challenged claims. See CP Br. 14, 47. But Corephotonics confuses

the issue of analogous art with the ultimate conclusion of obviousness.

      The determination of what is reasonably pertinent to the problem facing a

field requires a similarly flexible analysis. “A reference is reasonably pertinent if,

even though it may be in a different field from that of the inventor’s endeavor, it is

one which, because of the matter with which it deals, logically would have

commended itself to an inventor’s attention in considering his problem.” Clay, 966

F.2d at 659. “[A] reference need not be reasonably pertinent to every problem

facing a field to be analogous prior art, but rather need only be ‘reasonably


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pertinent to one or more of the particular problems to which the claimed inventions

relate.’” CyWee Group Ltd. v. Google LLC¸ 847 F. App’x 910, 913 (Fed. Cir.

2021) (non-precedential) (quoting Donner, 979 F.3d at 1361). “[A] reference can

be analogous art even if there are significant differences.” Donner, 979 F.3d at

1361. “Indeed, there will frequently be significant differences between a patent and

a reference from a different field of endeavor.” Id.; see Scientific Plastic Prods.,

Inc. v. Biotage AB, 766 F.3d 1355, 1360 (Fed. Cir. 2014) (finding substantial

evidence supports Board’s finding that references are analogous art where

references are sufficiently close the problem addressed by the invention). “What

matters is whether these differences support a determination that the reference is

not reasonably pertinent to a problem to which the claimed inventions relate.”

CyWee, 847 F. App’x at 913 (citing Donner, 979 F.3d at 1361).

      As to Martin, substantial evidence supports the Board’s finding that Martin

is reasonably pertinent to the problem to be solved by the claimed inventions.

Specifically, the Board identified the problem faced by the inventor as “reducing

an image jump effect seen in video output images when switching between

cameras that have different [points] of view.” Appx33, Appx103. The Board

further found that Martin addresses this problem. Appx33, Appx103. Specifically,

the Board found that “Martin describes the problem in terms of its solution:

‘[c]ritical alignment corresponds to a condition where the degree of alignment is


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sufficient to achieve a stable auto stereoscopic display’ and ‘[s]tability of the

whole image may not be required, as long as at least a particular region of interest

in the auto stereoscopic display is stable.’” Appx33 (quoting Appx5537, 5:53–58),

Appx5406–5414 (Durand), Appx103.

      This recognition of the need to align an image is pertinent to the claimed

invention. Martin need not require multiple cameras (CP Br. 48) or teach

continuous video zoom (CP Br. 49–50) to be reasonably pertinent to the problem

of the invention. Donner, 979 F.3d at 1361. But this Court need not reach that

question because the substantial evidence shows that a POSITA would have

understood Martin’s teachings to apply to multiple cameras and continuous video

zoom. Appx6020 (Durand Reply), ¶ 4 (quoting Appx5531, Fig. 1, Appx5536, 3:6–

13, 3:32–35, 4:10–15 (“The parallax images used to generate the autostereoscopic

display may be acquired from a variety of imaging sources such as digital still

cameras, digital video cameras, . . . and any other suitable imaging source.”),

Appx6022–6023 (Durand Reply), ¶ 9; see also Appx6101, Appx6113–6117

(applying a broad description of the field).

      The issue here is not what Martin does not teach but whether one skilled in

the art would look to Martin to solve the problem. Here, the Board had more than

substantial evidence to support its findings that Martin is analogous art. The




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Board’s findings that Golan and Martin are analogous art should, therefore, be

affirmed.

      C.     The Board acted within its discretion in considering Apple’s reply
             arguments and evidence.

      The Board’s analogous art determination is supported by looking exclusively

to the Petition and supporting evidence. See § II.B. In any event, the Board did not

abuse its discretion in considering Apple’s reply arguments and evidence. The line

between permissible reply evidence and impermissible new arguments is not

nearly as bright as Corephotonics suggests, and Apple’s reply here does not come

close to crossing it. Arguments and evidence provided in response to a patent

owner’s response are the very purpose of the reply brief. See Infineum USA L.P. v.

Chevron Oronite Co., No. 20-1333, 2022 WL 3147683, at *3–4 (Fed. Cir. Aug. 8,

2022) (non-precedential). This includes clarifications of a party’s position, and it

may include new evidence. Indeed, there is “no blanket prohibition against the

introduction of new evidence during an inter partes review proceeding.” Anacor

Pharms., Inc. v. Iancu, 889 F.3d 1372, 1380 (Fed. Cir. 2018). Rather, “the

introduction of new evidence in the course of the trial is to be expected in inter

partes review trial proceedings and, as long as the opposing party is given notice of

the evidence and an opportunity to respond to it, the introduction of such evidence

is perfectly permissible.” Genzyme, 825 F.3d at 1365–66. The question is one of

fair notice. Intelligent Bio-Sys., 821 F.3d at 1369–70.


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      In a handful of the most extreme and clearly distinguishable cases involving

a petitioner’s assertion of a completely new rationale supported by new evidence in

reply, this Court has declined to disturb the Board’s discretion in refusing to

consider such reply arguments and evidence. See, e.g., Intelligent Bio-Sys., 821

F.3d at 1369–70 (affirming Board’s disapproval of a party’s “entirely new

rationale [and new evidence of non-patent literature references] to explain why one

of skill in the art would have been motivated to combine” prior art references);

Ariosa, 805 F.3d at 1367 (affirming Board’s disapproval of a party’s reliance “on

previously unidentified portions of a prior-art reference to make a meaningfully

distinct contention”); Wasica Fin. GmbH v. Cont’l Auto. Sys., Inc., 853 F.3d 1272,

1285–87 (Fed. Cir. 2017) (affirming Board’s ruling that an obviousness challenge

was “insufficiently precise and underdeveloped” to support more developed reply

arguments); Henny Penny Corp. v. Frymaster LLC, 938 F.3d 1324, 1330–31 (Fed.

Cir. 2019) (affirming Board’s refusal to permit new argument inconsistent with

express statements of counsel to the Board as to the party’s position)3. And,

indeed, these are the cases Corephotonics cites.




3
  In Henny Penny, the Court emphasized “tellingly, when pressed by the Board on
what particular theory was presented in the petition, [petitioner’s] counsel never
argued [the position it now seeks to pursue on appeal], but rather confirmed that ‘in
the original petition’ [it proposed a narrower ground of unpatentability].” 938 F.3d
at 1331.

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      But in limiting its analysis to the most egregious of cases, Corephotonics

ignores the wealth of authority applicable to the facts of this case in which the

Court has found the Board abused its discretion in refusing to consider reply

arguments and evidence that (1) can be fairly understood from the petition, or

(2) fairly respond to the patent owner’s response. See, e.g., Ericsson, 901 F.3d at

1379–81 (reversing Board’s refusal to consider reply arguments because Board

parsed arguments with “too fine of a filter”); Andrea Elecs., 949 F.3d at 705–07

(holding Board abused its discretion in rejecting reply arguments that “relie[d] on

the same algorithm from the same prior art reference” to demonstrate “another

example of the same algorithm to further explain” its original position); cf.

Chamberlain Grp., Inc. v. One World Techs., Inc., 944 F.3d 919, 925 (Fed. Cir.

2019) (affirming Board’s consideration of argument raised by patent owner at oral

argument as a clarification of prior position rather than a new argument).4

Applying these authorities, the present case is not a close call. There is ample basis

in the petition and evidence to support the Board’s decision to consider Apple’s




4
  See also Uniloc 2017 LLC v. Facebook, Inc., No. 19-2162, 2021 WL 5370480, at
*7 (Fed. Cir. Nov. 18, 2021) (Board should have considered reply arguments and
evidence fairly related to an assertion in petition, even if slightly shifted by
arguments in patent owner’s response); AMC Multi-Cinema, Inc. v. Fall Line
Patents, LLC, No. 21-1051, 2021 WL 4470062, at *6-7 (Fed. Cir. Sept. 30, 2021)
(Board should have considered reply arguments grounded in petition that were
responsive to Board’s unfavorable reasoning at institution).

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reply arguments and evidence supporting its basis for asserting Golan and Martin

as analogous art.

      Unlike the authorities cited by Corephotonics, this appeal rests on a

technicality—the argument that Apple made a fatal mistake by allegedly failing to

expressly say that Golan and Martin are not only in the same field of endeavor as

each other but are also in the same field as the invention. CP Br. 3. As an initial

matter, comparison of the prior art references to each other is a natural part of a

properly flexible, analogous art inquiry. See Antle, 444 F.2d at 1172; In re

Pagliaro, 657 F.2d 1219, 1224–25 (CCPA 1981). Indeed, this Court’s predecessor

court analyzed whether references were analogous by comparing them to other

references in the proposed combination. See Antle, 444 F.2d at 1172. More

specifically, the Court in Antle reasoned:

      [T]he principal reference [McLaren], is also a mobile produce packing
      plant, i.e., it is ‘in the very same art,’ and Allen, the principal
      secondary reference, is for a process of preserving fresh produce,
      which is the whole object of appellant’s invention. . . . . [W]hile
      Payton and Miller might initially be thought to be in arts foreign to
      mobile produce packing technology, once the motive to combine
      McLaren and Allen is established, the additional combination of
      Payton and Miller therewith tends to flow from the close relationship
      of Allen with Payton and Miller.

Id. (emphasis added); see also Pagliaro, 657 F.2d at 1224–25.

      Regardless, no reasonable person can read the petitions without

understanding that Apple was asserting the same field of endeavor for Golan and



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Martin as that of the claimed inventions. From the description of the claimed

inventions forward, the petitions describe the field as “pertaining to imaging

systems generating video output images using two imaging sections having

different points of view.” Appx1023 (citing Appx5410–5411, ¶ 55), Appx10023

(ʼ942 Petition), Appx1023, Appx1061, Appx1068, Appx1075, see also Appx1009–

1010 (describing the ’233 patented invention), Appx10009 (describing the ’942

patented invention). Thus, when the petitions state “the references [Golan and

Martin] are analogous prior art and are in the same field of endeavor pertaining to

imaging systems generating video output images using two imaging section having

different points of view,” it is disingenuous for Corephotonics to suggest it did not

understand the petition to be stating that the stated field of endeavor for Martin and

Golan is the same as that of the claimed invention.

      The basis of claiming Golan and Martin as “reasonably pertinent to the

particular problem” addressed by the challenged patents is equally clear.

Corephotonics characterizes “reasonably pertinent to the particular problem” as an

“entirely ‘separate test.’” CP Br. 38 (quoting Bigio, 381 F.3d at 1325). That

suggestion is inconsistent with the authorities acknowledging that it is entirely

possible for prior art both to fall within the same field of endeavor and to be

reasonably pertinent to the problem. See, e.g., Unwired Planet, LLC v. Google Inc.,

841 F.3d 995, 1001–02 (Fed. Cir. 2016) (finding prior art reference “both from the


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same field of endeavor as the [claimed invention] and [] reasonably pertinent to the

problem” defined by the claimed invention). Thus, the criteria for determining

analogous art are not mutually exclusive.

      Here, there can be no misunderstanding from the petition as to the problem

addressed by the asserted patents, “namely, ‘a jump (discontinuous) image change”

when a “camera switches the camera output between sub-cameras or points of

view.” Appx1280 (citing Appx1023–1025, Appx6021, ¶ 6), Appx10266 (citing

Appx179, 10:37–39, Appx15607 ¶ 15, Appx15619, 5:51–55). The petitions further

explain how Golan and Martin speak to the same problem. See, e.g., Appx1023–

1025. For example, the petitions refer to “Golan’s expressed desire to achieve

‘continuous electronic zoom with uninterrupted imaging, when switching back and

forth between the first image sensor array and the second image sensor array.’”

Appx1024; see Appx1024 (further explaining Golan and Martin “share a need to

provide continuous video output images when switching between images from

imaging sections having different points of view”). In reply, Apple reinforced these

positions and responded directly to Corephotonics by explaining, how Golan and

Martin are “reasonably pertinent” to solving the jump “when a dual-aperture

camera switches the camera output between sub-cameras or points of view.” See

Appx1280–1291.




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      Notably, the Reply not only cites specifically to the portions of the petitions

supporting its clarifications, it also relies on the broad description of the field

proffered by “Patent Owner’s own expert.” Appx1279 (citing Appx6113–6117).

This is precisely what the reply is expected to address. In suggesting otherwise,

Corephotonics parses Apple’s “arguments on reply with too fine of a filter.”

Ericsson, 901 F.3d at 1380.

      As outlined above, Apple did not “shift” arguments, but rather clarified its

position. See Uniloc 2017, 2021 WL 5370480, at *8. There are no inconsistencies

between the analogous art positions taken in the petition and clarified in reply, and

“there is nothing improper about arguing that the prior art discloses particular

claim language in several different ways.” Cf. id.

      Thus, it is not surprising that despite noting that “Petitioner compares Golan

and Martin to each other instead of the claimed invention,” the Board found Apple

“properly replied to Patent Owner’s criticism of its showing regarding analogous

art.” Appx32, n.11, Appx102, n.19. The Board cited to references in the petition

and corresponding evidence that supported Apple’s reply arguments. See, e.g.,

Appx32, Appx102. The Board further cited Dynamic Drinkware, LLC v. Nat’l

Graphics, Inc., 800 F.3d 1375, 1379 (Fed. Cir. 2015), and Apple Inc. v. Qualcomm

Inc., IPR2018-01245, Paper 39, 16 (PTAB Jan. 15, 2020). Consistent with the

numerous authorities cited above holding that reply arguments and evidence are


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appropriate to clarify the petition and/or respond to arguments raised in the patent

owner’s response, Dynamic Drinkware supports that, while the burden of

persuasion never shifts from the petitioner to prove unpatentability, the burden of

production of evidence does. 800 F.3d at 1379.5

      Under these circumstances, the Board was well within its discretion to find

Apple’s clarifications in reply proper. Appx32, Appx102–103; see also Ericsson,

901 F.3d at 1379–80.

      D.    Corephotonics cannot claim a lack of notice of reply arguments
            because it failed to exhaust all remedies.
      Corephotonics had ample opportunity to respond to Apple’s arguments,

including the arguments and supporting evidence made in reply. As noted above,

Apple’s position as to Martin’s and Golan’s character as prior art has never

changed, not since the other IPR proceedings involving the same parties and the

same prior art references and not since the petitions, preliminary briefing,

rehearing briefing, or the final briefing in these matters. If, through all of this

briefing, Corephotonics still believed it needed an additional opportunity to

respond to any arguments or evidence, Corephotonics was not without remedies.




5
 In Apple Inc. v. Qualcomm Inc., the Board cited Dynamic Drinkware to reject a
patent owner’s argument that it should consider solely evidence cited in the
petition regarding analogous art rather than looking to the record as a whole as
developed during the proceedings.

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      It could have moved to strike or exclude allegedly improper reply arguments

and evidence. 37 C.F.R. § 42.64(c). It did not. It could have cross-examined

Apple’s expert about his reply comments and filed the deposition transcripts. See

37 C.F.R. §§ 42.23(b), 42.51(b)(1)(ii). This, Corephotonics did. Corephotonics

deposed Dr. Durand at length for two days following Apple’s reply and filed both

deposition transcripts in support of its sur-reply. See Appx17833–18257 (Durand

Depositions), Appx1317, Appx1321. If Corephotonics believed more evidence was

necessary, it also could have sought leave to file sur-rebuttal evidence beyond the

additional expert deposition testimony. 37 C.F.R. § 42.5(b) (allowing a party to

seek waiver or suspension of any requirement). Again, it did not.

      Corephotonics had a full opportunity to respond to Apple’s reply arguments.

See Provisur, 2022 WL 4474941, at *4. If it believed additional remedies were

necessary, it chose not to exercise those remedies. Having failed to exhaust its

remedies before the Board, Corephotonics should not be allowed to claim it was

deprived of notice and meaningful opportunity to respond to Apple’s reply

arguments and evidence. Belden, 805 F.3d at 1081–82 (“With no board denial of

concrete, focused requests [for leave to exercise the listed remedies], we are not

prepared to find that Belden was denied a meaningful opportunity to respond.”).




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      E.      The Board did not articulate a new theory of obviousness in the
              Final Written Decisions.

      The Board satisfies its obligation not to deviate from the obviousness

grounds asserted in the petition where it considers each party’s contentions and

supporting evidence and reaches a conclusion supported by the substantial

evidence. See Agarwal v. TopGolf Int’l, Inc., 813 F. App’x 476, 480–81 (Fed. Cir.

2020) (non-precedential); see also Sirona Dental Systems GmbH v. Institut

Straumann AG, 892 F.3d 1349, 1356 (Fed. Cir. 2018) (finding Board’s reliance on

portions of the record cited in petition but not broadly discussed by either party

does not violate APA). In arguing the Decisions are based on new theories of

analogous art, Corephotonics once again argues for the narrowest, most rigid

reading of the Decisions possible. But Corephotonics’ arguments overlook

substantial portions of the Board’s findings as they relate to both the field of

endeavor and the pertinence of prior art to the problem addressed by the claimed

inventions.

              1.    The field of endeavor never changed, and Golan fits within
                    it.

      Corephotonics faults the Board for allegedly adopting a new field of

endeavor that departs from that argued by Apple. CP Br. 44–45. What

Corephotonics cites for this proposition is the Board’s explanation of how the prior

art fits within the field of endeavor, not what the field of endeavor is.



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      The field of endeavor is determined “by reference to explanations of the

invention’s subject matter in the patent application, including the embodiments,

function, and structure of the claimed invention.” Bigio, 381 F.3d at 1325. Here,

the Decisions summarize the invention’s subject matter at the outset as

“concern[ing] a dual-aperture zoom digital camera,” which includes sub-cameras

with different points of view. Appx4–5, Appx64–65. The Decisions further recite

the challenged claims, which relate specifically to video output. Appx6–7,

Appx66–67. This description of the patented subject matter is taken from the

patents’ specification. And while it may not be the only way to characterize the

invention’s field of endeavor, it is consistent with Apple’s similar description of

the field of endeavor as “the field of imaging systems, and more specifically,

imaging systems including digital cameras [for] generating video output images

using two imaging sections having different points of view.” 6 Appx32 (citing

Apple’s clarification on reply) (quoting Appx1279 (further citing Appx6020, ¶ 4,

Appx1023–1024 (Petition), Appx5517–5518, Appx5525–5526, Abstract, Fig. 1,

¶¶ 9, 15, 36, Appx5531, Appx5536, Fig. 1, 3:6–13, 3:32–35, 4:10–15, Appx6101,




6
  While Apple believes its characterization of the field better reflects the claims,
any difference between the articulations is irrelevant, as Golan falls squarely
within the field of endeavor either way, and Martin is reasonably pertinent to a
problem facing the inventors.

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Appx6113–6117)), Appx102–103; see also Appx1023–1024 (ʼ233 Petition),

Appx10023–10024 (ʼ942 Petition).

      After describing the field of endeavor, the Decisions explain why Golan falls

within that same field. Specifically, the Board finds “[w]e are persuaded that Golan

is in the same field of endeavor as the claimed invention because it describes

performing digital zoom using a wide image sensor array and lens and a tele image

sensor array and lens with the goal of providing ‘continuous electronic zoom with

uninterrupted imaging.’” 7 Appx32, Appx103. Contrary to Corephotonics’

argument, this is not a change in the field of endeavor. The field of endeavor had

already been defined earlier in the decisions. The narrow sentence quoted by

Corephotonics is nothing more than an explanation of how Golan fits within that

field. Appx5.

             2.    Martin is pertinent to the problem, which is clear from the
                   Decisions.

      Regarding the Board’s finding that Martin is pertinent to the problem,

Corephotonics’ complaints similarly stem from too narrow a read of the Decisions.

The Decisions find that the patents address the issue of jump or discontinuous

image change “when the camera switches between” sub-camera output images by

employing a smooth transition “between cameras or POVs [points of view] that

7
  This finding supports the conclusion that Golan is also pertinent to the problem to
be solved by the claimed inventions, which provides an alternative basis to affirm
the Board’s analogous art determinations as to Golan.

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minimizes the jump effect.” Appx5, Appx65. The Decisions further summarize

Apple’s position that “Golan and Martin ‘are each pertinent to the problem

addressed in the [’233/ʼ942] Patent, namely, ‘a “jump” (discontinuous) image

change’ ‘[w]hen a dual-aperture camera switches the camera output between sub-

cameras or points of view.’” Appx32 (emphasis added) (citing Appx1280 (citing

Appx6021,    ¶ 6,   Appx159,    10:32–34,    Appx1023–1025,     Appx5525,     ¶ 15,

Appx5537, 6:51–55)), Appx103.

      Following these consistent recitations of the problem, the Decisions

conclude: “Martin is reasonably pertinent to the problem faced by the inventor.”

Appx33, Appx103. The Board repeats the problem as “reducing an image jump

effect seen in video output images when switching between cameras that have

different fields of view.” Appx33 (emphasis added), Appx103. The Board further

cites to portions of Martin in analyzing the reference’s reach, none of which refer

to field of view. See Appx5537, 5:53–58. The sentence that uses the term “fields of

view” is the sole basis of Corephotonics’ assertion that the Board changed its

position as to the problem faced by the inventor. When read in the context of the

Decisions as a whole, however, it is clear that the Board intended to refer to the

term “points of view” rather than “fields of view” in describing Martin’s

pertinence to a problem facing the inventors. See Apple Inc. v. INVT SPE LLC, 851

F. App’x 200, 203 (Fed. Cir. 2021) (non-precedential) (rejecting reading of limited


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statements in final written decision taken out of context in favor of Board’s

intended meaning from the decision’s full context).

      Looking to the Decisions as a whole, no reasonable person can read the

Decisions without understanding the Board’s reference to “fields of view” is a

typographical error. In addition to the clear statements cited above, in its

description of Martin, the Decisions explain that “[b]y manipulating parallax

images—two or more images with overlapping visual fields but different points of

view—Martin’s method creates a moving three-dimensional image without the use

of special viewing aids.” Appx12 (citing Appx5530, Abstract) (emphasis added),

Appx81. The Decisions further cite testimony of Apple’s expert that “a POSITA

would have understood that Martin’s teachings of critical alignment for stable

transition between images of different points of view apply to electronic camera

systems providing continuous zoom video output [i]mages as taught in Golan,

regardless of whether a three dimensional illusion is provided.” Appx21–22 (citing

Appx5414, ¶ 59, Appx5553, 4:58–62, Appx5556, 10:2–5, Appx5764, 1:63–2:1,

Appx5866, Appx5623, ¶¶ 41–42); see also Appx91–92 (citing Appx15460–15461,

¶ 57, which refers to “points of view” and otherwise similar evidence). It is further

undisputed that the problem to be solved involved the jump seen due to differences

in points of view. See Appx1220–1221 (Patent Owner Resp.) (when “cameras are

at different spatial positions, the images taken from [the two cameras] are seen


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from different points of view (POV)” and thus when switching between them, “a

user will normally see a ‘jump’ (discontinuous change)”).

      The Decisions reference “fields of view” when explaining that Golan and

Martin both “involve parallax effects caused by two cameras with different fields

of view . . . ,” thus rejecting Corephotonics’ argument that Golan and Martin are

“fundamentally dissimilar.” Appx25–26 (citing Appx1231, Appx1236–1237,

Appx1240), Appx98. Although Corephotonics states that the distinction between

“points of view” and “fields of view” was “indisputably critical to defining the

field” and “were disputed by the parties,” the cited record does not draw any

distinction between “points of view” and “fields of view” as those terms might

relate to the analogous art determination. For example, Appx1320–1322 is a

portion of the Patent Owner’s Sur-Reply arguing that Martin should not be treated

as analogous art because it is allegedly “not concerned with reduction of jump

effects in video images when switching between cameras during zoom.”

Appx1321. There is no mention of “field of view” or “point of view” anywhere in

these cited pages. Other pages address Corephotonics’ attempts to distinguish the

type of video images in Martin from the video images in Golan. See, e.g.,

Appx1326–1327. None attempt to draw a distinction based on an image’s “point of

view” versus the “field of view.”




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      Similarly, while Corephotonics attempts to identify differences between the

video output in Martin and that disclosed in the patented inventions, Corephotonics

fails to identify how this argument impacts the Board’s determination of the

pertinent problem. To the extent Corephotonics disputes the Board’s resolution of

this issue, the challenge is one of substantial evidence, not adequate notice of the

relevant grounds.

      Thus, the Board clearly meant to (and in most areas of the Decisions did) use

the term “points of view” rather than “fields of view” in describing Martin’s

pertinence to the problem to be solved. The Court may accept the clear intent of

the Board. See, e.g., Netlist, Inc. v. Diablo Techs., Inc., 701 F. App’x 1001, 1005,

n.1 (Fed. Cir. 2017) (non-precedential) (recognizing clerical error in decision and

applying Board’s intent as clear from the record).

      This case is distinguishable from those cited by Corephotonics, which held

either that the Board improperly relied on facts and theories asserted for the first

time at oral argument (Dell, Inc. v. Acceleron, LLC, 818 F.3d 1293, 1301 (Fed. Cir.

2016)), or the Board based its decision on a claim construction adopted for the first

time in the final written decision (Qualcomm Inc. v. Intel Corp., 6 F.4th 1256 (Fed.

Cir. 2021)). Here, the Decisions are consistent with the positions and evidence




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presented during the proceeding, and there is no abuse of discretion in the

Decisions. 8

III.   The Board’s finding that the “shifting” limitation in the ’942 patent
       claims is rendered obvious by the prior art is supported by substantial
       evidence.
       The sole limitation disputed by Corephotonics—“shifting . . . according to a

distance of an object”—appears in claim 1 of the ʼ942 patent.9 As discussed above,

claim 1 pertains to “video output images” and, particularly, to reducing an “image

jump effect” when switching between images captured from different points of

view. The ʼ942 patent purports to achieve this “smooth transition” between the two

images through techniques that “may include matching the position, scale,

brightness and color of the output image before and after the transition.” Appx179,

10:41–45. The ʼ942 patent recognizes that uniformly matching the position of

objects throughout the entire image “is in many cases impossible, because parallax

causes the position shift to be dependent on the object distance.” Appx179, 10:45–

48. Thus, “position matching is achieved only in the ROI [region of interest] region

8
  Notably, the Decisions do not address Apple’s argument that Martin would fall
within the same field of endeavor as the patents. Yet, the fact findings support the
conclusion that Martin falls within the field of imaging systems including digital
cameras [for] generating video output images using two imaging sections having
different points of view. Appx32, Appx12–13; see also Appx17 (quoting
Appx1040), Appx18–19. These findings provide an alternative basis for the Court
to affirm that Martin is analogous art or at least remand for the Board to address
whether Martin is in the same field of endeavor.
9
  As this Section applies only to the ʼ942 patent, citations refer only to the Decision
and documents in IPR2020-00860.

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while scale brightness and color are matched for the entire output image area.”

Appx179, 10:48–51. In other words, due to the effects of parallax, the ʼ942 patent

settles for matching the position of a particular region in a set of images, such as an

object, when switching between images.

      As background, the parallax effect was well-understood by the priority date

of the ʼ942 patent. POSITAs recognized that the amount of parallax shift, i.e., the

amount an object appears to move between two images with different points of

view, is based on the distance to the object. See Appx78, Appx16302 (Kobayashi),

Figs. 3A, 3B, Appx16313, 6:44–45 (“the parallax P changes depending on the

distance to the target”), Appx16313, 6:25–38, Appx15482–15484 (Durand), ¶ 98.

In other words, when switching between two images from different points of view

(e.g., two cameras in a dual-aperture system), objects closer to the cameras will

appear to shift positions much more dramatically than objects further from the

cameras. This basic principle—the parallax effect—is not in dispute. Indeed, the

ʼ942 patent discusses this reality, and the applicant recognized it during

prosecution of the parent ʼ233 patent. Appx179, 10:45–48 (“[P]arallax causes the

position shift to be dependent on the object distance.”), Appx16770 (“artifacts

caused by the parallax effect depend on the specific object distance in a given

image”).




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      The ʼ942 patent recognizes the geometric reality that parallax causes objects

in an image to shift different amounts based on each object’s distance from the

camera and, accordingly, focuses on position matching a particular region in an

image, rather than the entire image. Such position matching would apparently be

achieved (in the context of claim 1) by “shifting” one image relative to the other

“according to a distance of an object” in a region. Importantly, however, the ʼ942

patent does not describe how such shifting is performed.

      Apple demonstrated, and the Board correctly found, that Martin discloses

this “shifting” limitation. See Appx85–105, Appx10033–10043 (Petition).10 Martin

describes a computing device that aligns two images captured from different points

of view (parallax images) as part of its process for reducing visual discontinuities

in a video image sequence. Appx15618, 3:39–46, Appx15477–15480 (Durand),

¶¶ 92–94. Martin discloses capturing “parallax images” using two cameras

“displaced from each other,” as shown in Martin’s Figure 1:




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  Corephotonics’ suggestion that Martin is “cumulative” of art considered during
prosecution (CP Br. 59) has no bearing on unpatentability and is an unreviewable
institution issue under Thryv. See 35 U.S.C. § 325(d).

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                                            FIG. 1

Appx15613, Fig. 1 (cameras 10 and 12), Appx15618, 3:39–46, Appx15478–15480

(Durand), ¶ 94.

      Martin explains that “[a]s a result of the parallax information contained in

the images, an apparent shift of object may exist between different views.”

Appx15620, 7:8–12. This “apparent shift refers to the distance a point in an image

appears to move between images taken from different points of view.” Appx15620,

7:8–12. Due to the parallax effect, the amount of an object’s apparent shift is based

on the distance of that object from the camera. See Appx78, Appx16302


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(Kobayashi), Figs. 3A, 3B, Appx16313, 6:44–45 (“the parallax P changes

depending on the distance to the target”), Appx16313, 6:25–38, Appx15482–

15484 (Durand), ¶ 98. This basic relationship between the amount of parallax shift

and the distance of an object is further confirmed by Martin. Martin highlights the

relationship by explaining that, using the “amount of apparent shift of a point in

two or more parallax images” and “certain other information, such as the distance

between the camera and a point in the image,” “quantitative position values may be

computed for the point.” Appx15620, 7:13–17. Such “quantitative positional

information for scene points” (or “position values” for scene points) may then be

used to create a “depth map for objects in the scene.” Appx15620, 7:23–32; see

also Appx89–90. In other words, the amount of shift for scene points

corresponding to particular objects—which, based on the geometries of parallax is

according to the distance to an object—can reveal the depth (distance) for objects

throughout a scene.

      Martin aligns the parallax images by aligning a particular region with its

corresponding region in the other image. See Appx15620, 7:46–51 (Martin, cited at

Appx89). This is shown in the annotated version of Martin’s Figures 3a through

3d, below. Figures 3a and 3b represent two images, Figure 3c illustrates the shift

needed to align the images, and Figure 3d shows the aligned images. Martin takes

an unaligned image 32 (a succeeding video image in Figure 3b) and manipulates it


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until the “same region of interest 34´, albeit as viewed from a different point of

view” matches alignment with the region of interest 34 in the reference image 30

(the preceding video image in Figure 3a). Appx15618, 4:51–56.

                        preceding image             succeeding image

                                  30



       preceding image-~ -,
            ROI


                            FIG. 3a                     FIG. 3b
                          succeeding image
  shifting the succeeding         J
   image relative to th     ,-----'--- -                                       position
     preceding image            _ D                                        mfching in ROI
  according to a distan e       __ f'>.
                                     _O                    M=.....;..~::..- 1r preceding

     of an object in a                                                    im fge and shifted
  succeeding image ROI                                '-------J== sudceedingimage
                            FIG. 3c                     FIG. 3d



Appx15615, Figs. 3a–3d (annotated by Durand, Appx15479–15480).

      This alignment process may be accomplished by “affine transformation

including translation, rotation, scaling and/or any other desired transformation.”

Appx15618, 4:56–61. Further, alignment may be performed by “pattern matching

or feature extraction algorithms” or by “align[ing] the convergence points in the

images based on calculated differences between the selected convergence points in

the images.” Appx15619, 5:8–21. Martin describes that this shifting of one image

is based on “transformation including translation.” Appx15618, 4:56–59. As



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Apple’s expert explained, a POSITA would have understood that such a translation

is based on a translation parameter, specifically shifting the image in x and y

directions based on x and y translation parameters. Appx15482 (Durand), ¶ 97

(citing Appx5804–5805 (Xiong article), equations 17–19). In short, Martin’s

“pattern matching or feature extraction algorithms” are used to identify the

corresponding object between two images, and a translation is then performed to

align the images by shifting the relevant x and y coordinates. See Appx15481–

15482 (Durand), ¶¶ 96–97 (citing supporting evidence, including Appx5623

(Border), ¶¶ 41–42, Appx5700–5702 (Szeliski), Fig. 2.4, Table 2.1, Appx5727–

5731 (Szeliski), Fig. 6.2, Table 6.1, Appx5804–5805 (Xiong article), equations 17–

19, Appx5791 (Xiong article)).

      Based on Martin’s disclosures, Apple’s Petition explained that Martin’s

“shift of the succeeding image relative to the preceding image for position

matching in the ROIs in critical alignment is dependent on the distance of an object

in the succeeding image ROI.” Appx10037–10038. More specifically, Apple

explained that “[t]he shift in Martin is therefore according to the distance to the

object in the succeeding image ROI [region of interest], because the amount of

shift is determined during registration for transforming the succeeding image to

the preceding image, which depends on the amount of parallax, which in turn




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depends on the distance to the object in the succeeding image ROI.” Appx10038

(Petition) (emphasis added); see also Appx10040 (Petition).

      Before the Board, the parties disputed the meaning of the “shifting”

limitation. Appx71–79. Corephotonics argued for a construction that would replace

“according to” with “based on.” Appx10178–10186 (Patent Owner Resp.). The

Board, however, correctly understood that, regardless of the language used, the

“actual dispute between the parties” was something different. See Appx74 (stating

the “actual dispute between the parties concerns whether the shifting directly

depends on ‘a distance of an object,’ or indirectly depends on ‘a distance of an

object’”). In effect, Corephotonics argued Apple should be required to demonstrate

a calculation using a quantitative value for object distance. See Appx76. The Board

rejected Corephotonics’ arguments and did not adopt an express construction.

Instead, the Board analyzed the specification and prosecution history and explained

that “[t]he above-quoted disclosures and the prosecution history tend to support the

position that translating (i.e., shifting) by a certain number of pixels is not directly

based on a quantitative value for object distance,” thus concluding that the claimed

shifting can indirectly depend on the distance to the object. Appx76 (emphasis

added); see generally Appx76–78 (citing Appx16770 (prosecution history),

Appx17288–17289, Appx17285, Appx17281 (dictionaries), Appx179, 10:47–48,

Appx180, 12:5–8, 12:9–13, Appx16851, ¶ 6). The Board found that “Martin’s


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teaching of critical alignment, which is based on a distance to an object” met the

limitation. Appx104–105 (citing Appx16302 (Kobayashi), Figs. 3A, 3B,

Appx16313, 6:44–45, Appx16313, 6:25–38, Appx15482–15484 (Durand), ¶ 98,

Appx16872–16873, ¶ 60, Appx17778, ¶ 110).

      On appeal, Corephotonics has not re-urged the “based on” construction it

proposed, disputed that an indirect relationship between distance and shifting

meets this limitation, or challenged the lack of an express construction. See CP Br.

51–61. Thus, the issue before this Court is purely a factual question, reviewed for

substantial evidence: does Martin shift according to a distance per the Board’s

understanding of that limitation that an indirect relationship between the object

distance and the shifting meets the “according to a distance” limitation.

      Corephotonics’ opening brief takes a three-fold approach in attempt to

dislodge the Board’s factual findings. First, Corephotonics imposes an additional

requirement to this limitation based on how it believes the Board’s understanding

of the phrase should be understood, and then contends that Martin does not teach

that additional requirement. Second, Corephotonics rebuts various aspects of the

Board’s analysis, none of which actually undermine the Board’s findings. And,

finally, Corephotonics raises a new argument on appeal, suggesting that the

background knowledge of one of ordinary skill in the art, as discussed by Apple’s




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expert and reflected in Kobayashi, would not apply to Martin. Each of these

arguments is addressed below.

      A.    The Board’s understanding of the “shifting” limitation does not
            require a calculation based on a transformation coefficient.

      Corephotonics first misinterprets the Board’s explanation of this term,

contending that “the Board’s construction must be (or, if not, should be) read to

mean that, if ‘shifting’ is not directly based on distance to an object, then it can

only be satisfied indirectly by shifting based on a value—a ‘transformation

coefficient’—that is itself calculated from parallax that is based on distance to an

object.” CP Br. 51 (emphases added). This narrow read of the Board’s analysis

imposes an additional requirement on this limitation: that shifting be based on a

“transformation coefficient.” See, e.g., CP Br. 51, 53 (arguing a finding

“improperly vitiates the ‘transformation coefficient’ requirement in the Board’s

own construction”), 59 (arguing “there is no ‘transformation coefficient’

determined by parallax based on distance to an object (per the Board’s

construction) used in Martin’s critical alignment process”). Using this view of the

Board’s analysis, Corephotonics contends “Martin does not teach such indirect

‘shifting’ as defined by the Board” because Martin’s shifting “is not performed

‘based on transformation coefficients’ that are ‘determined based on’ any ‘parallax

. . . based on a distance to an object.’” CP Br. 52 (quoting Appx76, Appx78).




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Instead, Corephotonics contends Martin’s alignment process is “parallax agnostic.”

CP Br. 52 (quoting Appx10567, 42:24–26).

      At the outset, Corephotonics’ assertion that Martin is “parallax agnostic” is a

quote from its own counsel’s characterization of Martin made during the oral

hearing. See Appx10567, 42:24–26. Attorney arguments are not evidence.

      In any event, the Board did not interpret the “shifting” limitation to require a

translation based on a “transformation coefficient.” See Appx75–79. Instead, in

rejecting Corephotonics’ argument that “shifting” must be directly based on an

object’s distance, the Board referred to the “transformation coefficients” discussed

in the ʼ942 patent to explain the similarity between how the ʼ942 patent “shifts” an

image, as compared to how Martin shifts an image, and to ensure the

specification’s disclosure would be encompassed by the claim language. See

Appx75 (discussing Appx180, 12:4–15 and Appx16770), Appx77–79. Indeed, as

the Board explained, the “transformation coefficient” in the ʼ942 patent “indicates

a translation between matching points in the two images” and is “based on the

parallax effect shown between the two images, which is, in turn, based on the

object distance.” Appx77–78. That is, the Board was pointing out the logical layers

used in the ʼ942 patent that illustrate how the specification’s disclosure of the

claimed “shifting” is ultimately done according to an object’s distance—but not

directly as a calculation of a quantitative value for object distance. See Appx78.


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Nowhere in the Board’s analysis did the Board construe the “shifting” limitation to

require that the translation information must be converted into a “transformation

coefficient.”

      To the extent Corephotonics raises a broader argument (beyond its

“coefficient” argument) that Martin does not shift images according to a distance

of an object even indirectly, tellingly, Corephotonics fails to cite any testimony

from its expert to support that position. See CP Br. 52–53. The only evidence

Corephotonics cites is the basic disclosure from Martin that images may be

obtained from a variety of sources, including via computer-generated images. See

CP Br. 53 (citing Appx15618, 3:55–67, 4:10–24). But regardless of what else

Martin discloses, there is no question that it discloses using images from two

cameras, as shown in Figure 1 (Appx15613). Moreover, the fundamental principle

of parallax does not change whether the images come from a set of two cameras,

one camera that moves to another point of view, or a computer. An object can be

near or distant in a computer-generated image, just as it can be in an image taken

with a camera. And, the same parallax principle would logically exist in those

computer-generated images, too. It is the different point of view that causes the

parallax effect—not the image source. Thus, given Corephotonics’ lack of

evidence or logical underpinning for this argument, the Board was correct to adopt




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Apple’s position, which was supported by extensive record evidence, including

expert testimony.

      B.     Neither Apple nor the Board relied on Martin’s “depth map” to
             teach the “shifting” limitation.

      Corephotonics next disputes findings that were never made. Corephotonics

attacks Martin’s “depth map” and “quantitative position values” (CP Br. 54–55),

but those arguments are, respectfully, a distraction.

      As to the “depth map,” Apple did not rely on Martin’s “depth map” to teach

this limitation, nor did the Board. Instead, Apple discussed the “depth map” to

illustrate the basic parallax principle that the apparent shift of an object due to

parallax is based on the distance of the object in the image, and thus may be used

to calculate a depth map. See Appx10037–10038 (Petition) (citing Appx15620,

7:8–12, 7:30–32). The Board addressed Martin’s “depth map” in that context, i.e.,

as further evidence that parallax reflects object distance.11 And, the Board

compared it to the ʼ942 patent’s process for translating movement into depth,

which similarly provides a specific value for depth after translation. Appx78

(citing Appx180, 12:9–13), Appx104 (explaining object distance is similarly an

“unknown value” in the ʼ942 patent).


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   Though not directly relevant, Corephotonics incorrectly asserts Martin’s depth
map “does not even reveal distance from a camera to an object—just distance
between ‘objects in the scene.’” CP Br. 54. Martin discusses depth when
discussing heights of objects in aerial images. Appx15620, 7:17–34.

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      Indeed, as discussed above, Apple agrees that the “apparent shift” in Martin

refers to the “distance a point in an image appears to move between images taken

from different points of view”—not the distance between the camera and a point in

the image. Appx15620, 7:10–13; see CP Br. 55. Likewise, Apple agrees that

Martin’s “depth map” is generated after alignment. Appx15620, 7:5–22

(explaining how “certain quantitative information may be extracted from the

aligned parallax images”). But these facts are beside the point. Neither Apple nor

the Board relied on Martin’s “depth map” as disclosing the “shifting” limitation.

Instead, Martin’s alignment teaches the “shifting” limitation, and the “depth map”

helps demonstrate what a POSITA would have understood regarding that

alignment process, namely, that shifts are according to distance.

      Corephotonics’ discussion of Martin’s “quantitative position values” is

similarly irrelevant. See CP Br. 55–56. Again, Apple did not rely on Martin’s

“quantitative position values” as teaching the “shifting” limitation, nor did the

Board.

      C.     Corephotonics’ new argument regarding Kobayashi is forfeited
             and, in any event, unavailing.

      Corephotonics raises a new argument on appeal: the basic principle reflected

in Kobayashi that the amount of parallax depends on the distance of an object is

“inapplicable to Martin’s specific disclosure” because Martin does not discuss the

distance between two cameras. See CP Br. 56–58. Specifically, Corephotonics


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attacks the relevance to Martin of the background evidence (Kobayashi) that

Apple’s expert relied on to support his testimony that a POSITA would have

understood that “parallax is based on distance to an object.” Appx104, CP Br. 56–

58.

      As the Board correctly explained, the Kobayashi background reference

demonstrates that “the parallax P changed depending on the distance to the target.”

Appx16313, 6:36–38, 6:44–45. Kobayashi even provides an equation defining the

amount of parallax as a product of “distance to the target”: “P=d x f/L” where “P”

is parallax and “L” is the “distance to the target.” Appx16313, 6:36–38, 6:44–45.

      Before the Board, Corephotonics had no real argument to dispute the

implications of Kobayashi, other than to generally state that “Kobayashi, at best,

teaches distance can be calculated from ‘object shift in the parallax images.’”

Appx10216 (Patent Owner Resp.) (emphasis in original). That statement, of

course, proves Apple’s point: the amount of parallax is inextricably tied to object

distance.

      Now, Corephotonics attempts to craft a new argument that Kobayashi’s

basic principles of parallax would not apply to Martin. But Corephotonics did not

raise that argument (or evidence to support it) before the Board, and Corephotonics




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cannot raise it for the first time on appeal. See Hylete LLC v. Hybrid Athletics,

LLC, 931 F.3d 1170, 1174–75 (Fed. Cir. 2019).12

      But regardless, Corephotonics’ position is not borne out by the evidence.

Martin discusses the relationship between parallax and the distance to an object,

and expressly notes that quantitative position values could be computed if “certain

other information” is known. Appx15620, 7:13–17. Martin does not purport to

catalogue every variable related to parallax information. Nor is there some

requirement that Martin do so, particularly where the principle is well-understood

in the art. Indeed, the Board discredited Corephotonics’ expert on this point, noting

Dr. Saber “cites nothing to support his position that a POSITA could not calculate

object distance from parallax, particularly in light of Martin’s acknowledgement

that additional inputs might be required.” Appx104 (citing Appx17778–17779,

¶¶ 110–112). Thus, Corephotonics’ argument that “Martin never speaks of or

discloses anything . . . regarding the distance between cameras or how to use that

value to critically align to account for apparent shift” is inapposite. The only

testimony from its expert that Corephotonics cites for this point recites what



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  Corephotonics argued (indeed, admitted) an object’s shift is “related to how far
that object is from the camera(s),” but contended distance is “not determinative of
the calculated object shift.” Appx10212–10213. It later walked back its argument
that distance must be “determinative.” See Appx10312–10313. But, in any event,
Corephotonics did not address Kobayashi’s equation or explain why it would not
be relevant to Martin.

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Martin already acknowledges, i.e., that the relationship of parallax and distance to

an object involves other variables. See CP Br. 57 (citing Appx17778–17780),

Appx17778 (Saber Decl.), ¶ 111.

      Further, Corephotonics’ new argument forgets that Martin is presented in

combination with Golan. Corephotonics’ premise is that the parallax in Martin’s

system cannot relate to distance of an object because the distance between Martin’s

two cameras is not known (allegedly unlike Kobayashi, where distance between

cameras is a known value). See CP Br. 56–58. But, in the combination, Golan

already includes fixed cameras and a known distance between its two cameras. See

Appx15608, ¶ 38 (noting electronic calibration is performed “to determine the

alignment offsets between wide image sensor array 110 and tele image sensor

array 112” and that “the spatial offsets between wide image sensor array 110 and

tele image sensor array 112 are fixed”). Thus, whether Martin has “defined

locations of the cameras” or a variable representing the distance between cameras

(CP Br. 58) is irrelevant because Golan has exactly that. Corephotonics’ new

argument fails to address the references as set forth in the proposed combination.

      D.     Corephotonics’ purported motivation arguments merely reiterate
             the same factual disputes.
      In one final effort to overturn the Board’s factual analysis, Corephotonics

briefly contends the Board did not adequately explain why a POSITA would have

combined Golan and Martin with respect to the “shifting” limitation. CP Br. 59–


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60. But substantial evidence supports the Board’s thorough explanation why one of

skill would have been motivated to combine Golan and Martin as proposed by

Apple. E.g., Appx90–93. Corephotonics’ undeveloped motivation argument simply

rehashes the same factual disputes already addressed above (Corephotonics’

disagreement with the Board’s finding that Martin’s shifting depends on distance).

      For example, Corephotonics faults the Board for purportedly not addressing

why one of ordinary skill in the art would have been “motivated to combine Golan

and Martin’s specific non-distance-dependent shifting techniques in the dual-

aperture camera system as claimed.” CP Br. 59 (emphasis added). That is not a

motivation argument; it is the same factual disagreement regarding whether

Martin’s shifting depends on distance. Similarly, Corephotonics’ parenthetical at

59–60 suggesting the Board’s motivation analysis “did not address a POSITA’s

motivation to combine Golan with Martin’s purported disclosure of ‘shifting’ as

construed by the Board that used transformation coefficients” is likewise not a

separate motivation argument; it is, again, an argument that improperly reads an

additional requirement into the Board’s analysis, then faults the Board for failing to

apply that requirement. See supra Section III.A.

      Accordingly, the Court should disregard these arguments for the reasons

above: Martin’s alignment process shifts an image according to an object’s




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distance, and the Board did not construe the “shifting” limitation as requiring

“transformation coefficients.”

                                 CONCLUSION
      Substantial evidence supports the findings that Golan and Martin are

analogous art that a POSITA would have been motivated to combine in such a way

to meet the challenged limitations. For the reasons above, the Board’s Decisions

should be affirmed. Alternatively, the Court should remand as needed, as noted

above.



                                  Respectfully Submitted,

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                     CERTIFICATE OF COMPLIANCE

      1.    This brief complies with the type-volume limitation of Fed. Cir. R.
32(b)(1) because:

           ■     this brief contains 13,948 words, excluding the parts of the
      motion exempted by Fed. R. App. P. 32(f) and Fed. Cir. R. 32(b)(2).

      2.    This motion complies with the typeface and type style requirements of
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                                     /s/ Debra J. McComas
                                     Debra J. McComas




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